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CERTIFICATE OF SERVICE

I, Leigh-Anne M. Raport, hereby certify that on May 13, 2011, I caused one copy of the
foregoing document to be served upon the parties on the attached service list in the manner

indicated.

\- Carat ined

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{00074510;v1}
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